Case 2:04-cr-20476-SH|\/| Document 112 Filed 07/29/05 Page 1 of 2 Page|D 309

IN THE UNITED STATES DISTRICT coURT F"F-D iiij D'C-
FOR THE WESTERN DISTR,ICT OF TENNESSEE .
WESTERN DIVISION 95 JUL 29 PH '+- \'5
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W!’D 354 :e‘-; :L:i:i»t~`;~{`;$

UNITED STATES OF AMERlCA,
Plaintiff,
* No. 04-20476-D
Vs.

DAV[D TATE,

Defendant.

ORDER GRANTING GOVERNMENT'S MOTION
TO DISMISS COUNTS 6 AND 10 OF INDICTMENT

It is hereby ORDER.ED that the Government's Motion To Dismiss Counts 6 and 10 of the
lndictrnent in the above-entitled and numbered criminal case as to DAVID TATE is hereby
GRANTED.

DONE at Memphis, Tennessee, thisrzi day of July, 2005.

 

Th|s document entered on the docket sheet ln c mp|ianca
with ama 55 and/or az(b) FRCrP on 3' 'O-

 

 

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Honorable Bernice Donald
US DISTRICT COURT

